                     IN THE UNITED STATES DISTRICT COURT FOR
                    THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                             DOCKET NO. 3:11CR373-FDW-DSC

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )
                                              )
KHALED FADEL IBRAHIM (1)                      )
AHMED SAMY HOSNY KAREEM (2)                   )                      ORDER
KAMAL ZAKI QAZAH (3)                          )
THA’ER ISMAIL AYYAD (4)                       )
WAEL MAHMOUD SALEM (5)                        )
JOSE CALDERON-SILVER (6)                      )
ZAFER RAMADAN KAFOZI (7)                      )
HESHAM RAHMAN (8)                             )
ZIAD HASHEM NAJJAR (9)                        )
NASSER KAMAL ALQUZA(10)                       )
MURAD AYYAD (11)                              )


     THIS MATTER is before the Court on the government’s motion to release assets from the

First Protective Order (the “Order”) filed herein on November 29, 2011. The government has

proffered various reasons why most of the assets subject to the Order may be released and certain

specific assets should continue to be restrained pending final adjudication of forfeiture.

       For the reasons stated in the government’s motion,

       IT IS HEREBY ORDERED that the Order be unsealed; and

       IT IS FURTHER ORDERED that all assets listed specifically in, or covered by, the

Order are hereby released, except the following:

               b.7. First Federal xxxxx8483 (Rania Inc. dba Subway 22320).

               b.9. First Federal xxxxxx1782 (Dina Inc. dba Subway 22598).

               b.13. First Federal xxxx4886 (Ali Qaza LLC).
Restricted First Federal accounts xxxxxx1883, xxxxxx1906, and xxxxxx1891.

c.2. Rania Inc. Subway [22320], 528 Belle Station Blvd., Mt. Pleasant, SC.

c.3. Dina Inc. Subway [22598], 3365 Morgans Pt. Rd., Mt. Pleasant, SC.

d.3. 6132 N. Main St., Columbia, SC (City Food Mart of Columbia, LLC).

d.5. 1609 Oakhurst Dr., Mt. Pleasant, SC.

d.8. 337 Whitfield Dr., Lexington, KY.

d.9. 1479 Boardwalk, Lexington, KY.

e.1. One note secured by a deed of trust on 1712 Russell Ave., Charlotte, NC.

e.2. One note secured by a deed of trust [on] 3514 Rogers St., Charlotte, NC.
